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  16
                             CENTRAL DISTRICT OF CALIFORNIA
  17
                                       WESTERN DIVISION
  18
  19
       Jenny Lisette Flores, et al.,               Case No. CV 85-4544-RJK(Px)
  20
                        Plaintiffs,                Plaintiffs’ First Set Of Exhibits In
  21                                               Support Of Motion For Class-Wide
             v.                                    Enforcement Of Settlement [Part 2:
  22                                               First Part of Exhibit 7]
       Jeh Johnson, Secretary, U.S. Department
  23   of Homeland Security, et al.,               Hearing: March 9, 2015
                                                   Time:    TBD
  24                    Defendants.                Dept:    TBD
  25
  26
                                       PUBLIC VERSION
  27
                                                              PLAINTIFFS’ FIRST SET OF EXHIBITS IN
  28                                                         SUPPORT OF MOTION FOR CLASS-WIDE
                                                                   ENFORCEMENT OF SETTLEMENT
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